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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION
In re:

RON VIGDOR                                                          CASE NO. 20-12751-MAM
                                                                    CHAPTER 13
                  Debtor.
____________________________________/

                 ORDER GRANTING EX PARTE MOTION FOR ORDER
               CONFIRMING THE AUTOMATIC STAY IS NOT IN EFFECT

         THIS CASE came on for consideration on the Motion for Order Confirming the Automatic

Stay is not in Effect (“Motion”) filed by Toyota Motor Credit Corporation as servicer for Toyota

Lease Trust (“Movant”) (Doc. No. 55), pursuant to Local Rule 4001-1(C)(2)(b). The Court, having

reviewed the Motion and being otherwise fully advised on the premises, finds it appropriate to

grant the requested relief. It is

         ORDERED:
         1.     The Motion (Doc. No. 55) is granted.
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       2.      The automatic stay arising by reason of 11 U.S.C. §362 of the Bankruptcy Code is

confirmed to be terminated as to Movant’s interest in the following property: 2017 Lexus IS200;

VIN: JTHBA1D24H5048525 (“collateral”).

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Submitted by:
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Counsel for Movant is directed to serve a copy of this order to the parties listed below and file a
Certificate of Service with the Court.

Copies furnished to:
VIA FIRST CLASS MAIL
Ron Vigdor
5204 Lane Parke Court
Mountain Brook, AL 35223

VIA CM/ECF NOTICE
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